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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

  CHRISTIAN AYALA, a/k/a JOHN DOE,                    )
                                                      )
                               Plaintiff,             )
                                                      )
                          v.                          )     Case No. 1:16-cv-01266-TWP-DLP
                                                      )
  BUTLER UNIVERSITY, JAMES M. DANKO,                  )
  LEVESTER JOHNSON, STACIE COLSON                     )
  PATTERSON, ANNE FLAHERTY, SALLY                     )
  CLICK, ERIN MCCLUNEY, ROBERT                        )
  PADGETT, and MARTHA DZIWLIK,                        )
                                                      )
                               Defendants.            )

                     ORDER ON MOTION FOR SUMMARY JUDGMENT

         This matter is before the Court on a Motion for Summary Judgment filed pursuant to

  Federal Rule of Civil Procedure 56 by Defendants Butler University (“Butler”), James M. Danko,

  Levester Johnson, Stacie Colson Patterson, Anne Flaherty, Sally Click, Erin McCluney, Robert

  Padgett, and Martha Dziwlik (“Dziwlik”) (collectively, “Defendants”) (Filing No. 134). Plaintiff

  Christian Ayala (“Ayala”) filed this lawsuit against the Defendants after he was expelled from

  Butler for allegedly engaging in non-consensual sexual activity with another Butler student. Ayala

  asserted claims for breach of contract, defamation, violation of 20 U.S.C. § 1681 (“Title IX”),

  violation of 42 U.S.C. § 1981, and other state law claims. The Defendants filed their Motion for

  Summary Judgment, asserting the undisputed facts show that Ayala’s claims are not viable. For

  the following reasons, the Court grants the Defendants’ Motion for Summary Judgment.

                                        I.   BACKGROUND

         The following facts are not necessarily objectively true, but as required by Federal Rule of

  Civil Procedure 56, the facts are presented in the light most favorable to Ayala as the non-moving
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  party. See Zerante v. DeLuca, 555 F.3d 582, 584 (7th Cir. 2009); Anderson v. Liberty Lobby, Inc.,

  477 U.S. 242, 255 (1986). In his Response Brief, Ayala explained, “With the exception of the two

  issues of material fact stated above, Plaintiff accepts the Statement of Material Facts Not In Dispute

  as set forth in Defendants’ Brief [DE-135] at pgs. 2-14) 1, and incorporates them herein by

  reference.” (Filing No. 157 at 2.) Therefore, the Court admits those material facts as uncontested

  and without controversy pursuant to Local Rule 56-1(f)(1).

           In the fall of 2014, Ayala enrolled as a freshman undergraduate student at Butler in

  Indianapolis, Indiana (Filing No. 13 at 9). Shortly before midnight on Saturday, April 18, 2015,

  Ayala decided to attend a fraternity party with some friends (Filing No. 137-4 at 12). At

  approximately 12:30 a.m. on Sunday, April 19, 2015, fellow Butler student “Jane Smith” (“Jane”)

  arrived at the party. Id. at 11. Around 1:30 a.m., Ayala approached Jane and began talking with

  her. Both had been drinking and they started dancing and kissing at the party. Ayala and Jane

  decided to leave the party together. Jane’s friends tried to stop them from leaving the party together

  because they were concerned Jane was drunk. However, Jane told her friends that she was just

  going back to her dorm room. Id. at 11–12.

           Jane’s friend asked her to take a picture of herself when she got back to her dorm room and

  send the picture to her via text message so that she would know Jane arrived at her dorm room.

  Once Jane and Ayala arrived at Jane’s dorm room, Ayala waited in the hallway, and Jane went

  inside her room to take a picture. Jane sent the picture of herself to her friend, and she and Ayala

  then left to go to his dorm room.



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    The two material facts referenced are 1) whether Sally Click properly followed the procedures set forth in
  Defendants’ Civil Rights Equity Grievance Resolution Process and whether her failure to do so indicated gender bias
  on her behalf against Plaintiff and in favor of Jane, and 2) whether Defendants, in disciplining Plaintiff to the fullest
  extent possible (i.e., permanent expulsion from the school) treated him differently than other students found to have
  violated the same proscriptions against non-consensual sexual activity as set forth in the Grievance Process.

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         Jane believed that “just kissing” would happen in Ayala’s dorm room. (Filing No. 137-4

  at 11–13.) On their way to Ayala’s dorm room, at 1:53 a.m., Ayala sent a text message to his

  roommate, “Don’t go back to the room. I don’t know this girl’s name (insert smiley face with

  tears).” Id. at 13. Ayala later explained that he and his roommate would text each other “don’t go

  back to the room” when they did not want the other to go back to the room because they intended

  to engage in sexual activity in the room. Id.

         One of Jane’s friends who had followed them out of the party attempted to stop Jane and

  Ayala before they entered Ayala’s dormitory, but Jane told her that she would just be ten minutes.

  At 2:02 a.m., Jane sent a group text message to her friends, explaining that she promised she would

  be home soon. At 2:04 a.m., Jane texted her friends that she would be ten minutes. After they

  went into Ayala’s room, Jane and Ayala undressed, and Ayala performed oral sex on Jane. Then

  Ayala began to have sexual intercourse with Jane. Jane later reported that she told him “stop, it

  hurts” two times after he began having intercourse with her, but he did not stop (Filing No. 137-4

  at 12, 15). While Ayala was having sexual intercourse with her, at 2:10 a.m., Jane texted her friend

  “I. Basement SOS,” “So sorry,” “SOS,” “Please blow.” Jane stated the word “blow” was intended

  to mean “help” and that her text meant that she was in the basement, she was sorry, and she needed

  help. At 2:16 a.m., Jane sent a group text to her friends that stated, “I just got raped.” Id. at 12.

         While the sexual activity was occurring between Jane and Ayala, Jane’s friends were

  gathering outside of Ayala’s dormitory and trying to get inside. Another student entered the

  building and let them inside. Other students helped Jane’s friends find Ayala’s dorm room. While

  Ayala was having sexual intercourse with Jane, one of Jane’s friends knocked on Ayala’s bedroom

  door. Ayala went to the door and opened it. The friend pushed her way into the room and observed

  Jane naked on the bed and Ayala naked and standing up. The friend helped Jane quickly get



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  dressed, and they left the bedroom. Id. at 12, 13, 15, 17, 18. Jane told her friends that Ayala hurt

  her, and she told him to stop, but he would not stop. Id. at 15, 17, 18.

         Jane and her friends reported the incident to the Butler Police Department. Jane met with

  Detective Diane Sweeney, who drove her to the hospital to be examined. Jane was examined at

  the hospital and met with Butler victim advocate Sarah Diaz (Filing No. 137-4 at 12, 15, 17, 18).

  Later that morning, Sarah Diaz sent a report to Defendant Stacie Colston Patterson (“Patterson”),

  then Butler’s Title IX coordinator, that Jane had reported a sexual assault to the Butler Police

  Department that morning around 3:00 a.m. (Filing No. 137-4 at 6). Jane’s parents had been

  notified of the incident, and they were traveling from Illinois to Indianapolis to be with her. Id.

         Later that morning (Sunday, April 19, 2015), Jane and her parents met with Patterson and

  Butler’s vice president of student affairs, Defendant Levester Johnson (“Johnson”), to talk about

  how Butler addressed complaints of sexual assault and to discuss the next steps in the process

  (Filing No. 137-4 at 9; Filing No. 137-3 at 7–8).

         In the afternoon of April 19, 2015, Patterson sent an email to Ayala to inform him that

  Butler had received a report of an incident involving non-consensual sexual intercourse and non-

  consensual sexual contact and that the report had named him as the person involved. Patterson

  requested to meet with Ayala the next day, April 20, 2015, to discuss Ayala’s rights and the next

  steps in the process (Filing No. 137-1 at 31–33). Pursuant to Butler’s policy for handling

  allegations of sexual misconduct, a Title IX advisor was assigned to Ayala to be a resource for

  him. Scott Peden was assigned as Ayala’s Title IX advisor, and he contacted Ayala on April 23,

  2015, to let him know that he was available to answer any questions. Id. at 36–37.

         As Butler’s Title IX coordinator, Patterson assigned Defendant Martha Dziwlik

  (“Dziwlik”) to investigate the allegations against Ayala. Dziwlik interviewed Jane on Wednesday,



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  April 22, 2015, and she interviewed Ayala on April 23, 2015 (Filing No. 137-4 at 11). Ayala’s

  attorney attended the interview with Dziwlik on April 23rd (Filing No. 137-1 at 10; Filing No. 137-

  2 at 23). Throughout the next week, Dziwlik interviewed several students who were named by

  either Jane or Ayala as witnesses or individuals with knowledge of the incident. Dziwlik held

  follow-up meetings with Jane on April 27, 2015 and with Ayala on April 30, 2015 to confirm her

  notes (Filing No. 137-4 at 11).

         After she finished her investigation, Dziwlik completed a Title IX investigative report,

  which summarized her interviews, findings, and recommendations. Id. at 11–19. Based on her

  interviews and the text messages sent among the witnesses, Dziwlik concluded, “[w]ithin 23

  minutes, through documented communication, the situation turned from potentially consensual to

  potentially non-consensual based on a series of text messages indicating a need for help and that

  an assault had occurred.” Id. at 19. Dziwlik recommended that the case move forward to a formal

  hearing with a grievance panel because there was “sufficient eviden[ce] to support the claim of

  non-consensual sexual contact and non-consensual sexual intercourse.” Id.

         On April 30, 2015, Patterson emailed Ayala, informing him that the information obtained

  from the investigation up to that point in time was sufficient to support a possible university policy

  violation, and thus, a grievance panel hearing was tentatively scheduled for May 14, 2015 (Filing

  No. 137-1 at 40).

         On May 6, 2015, Defendant Anne Flaherty (“Flaherty”), the dean of student life and

  grievance panel chair, emailed Ayala to inform him of the date, time, and location of the grievance

  panel hearing. The letter also informed Ayala of the identity of the witnesses who would be called

  and the members of the grievance panel: Defendants Robert Padgett, Erin McCluney, and Sally

  Click. The letter invited Ayala to identify any other witnesses who he wished to call at the hearing,



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  and it informed him that Dziwlik’s Title IX investigative report would be provided to him five

  days before the hearing. Id. at 41–43. Ayala received a copy of Dziwlik’s investigative report

  with student names redacted a few days before the hearing. Id. at 13.

         The formal grievance hearing was held on May 14, 2015. Ayala attended the hearing with

  his attorney, who served as his advisor. Scott Peden, Ayala’s Title IX advisor, also attended the

  hearing. Jane attended the hearing with her father, who served as her advisor. During the hearing,

  Dziwlik and five student witnesses testified. Ayala and Jane could ask questions of the witnesses

  by submitting questions to the panel chair, who would then decide whether the questions would

  be asked. Jane testified that she never said or did anything to indicate to Ayala, before their

  physical contact, that she was not consenting to same. Ayala testified that Jane never gave him

  verbal consent. The members of the grievance panel asked questions of Ayala and Jane, and Ayala

  and Jane each gave a closing statement. Neither Jane’s father nor Ayala’s counsel spoke at the

  hearing. Ayala later acknowledged that he felt he was given a fair opportunity to tell his side of

  the story at the hearing. Id. at 15–18, 53.

         After the hearing, the grievance panel deliberated and found by a vote of 2-1 that Ayala

  was responsible for non-consensual sexual contact and by a vote of 3-0 that Ayala was responsible

  for non-consensual sexual intercourse. In reaching this determination, the panel did not believe

  that alcohol prevented either party from being able to consent to sexual activity. (Filing No. 37-4

  at 34). The panel considered that Ayala did not ask permission for oral sex or sexual intercourse

  and did not indicate any specific actions he took to receive consent through word or action. The

  panel also considered that Jane had told him “stop, it hurts” twice and sent text messages to her

  friends asking for help. Id. Additionally, the witnesses testified that Jane was hysterical when she

  left Ayala’s room, and she specifically stated to them that she “told him to stop, he hurt me.” Based



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  on its conclusions, the panel recommended that Ayala be dismissed from Butler immediately, and

  explained what factors they relied upon to recommend this sanction over a lesser sanction (Filing

  No. 137-4 at 34–35).

         On May 18, 2015, Patterson sent Ayala a letter informing him of the grievance panel’s

  conclusion that he had violated university policy by engaging in non-consensual sexual contact

  and non-consensual intercourse. The policy defines consent as:

         Consent is knowing, voluntary and clear permission by word or action, to engage
         in mutually agreed upon sexual activity. Since individuals may experience the same
         interaction in different ways, it is the responsibility of each party to make certain
         that the other has consented before engaging in the activity. For consent to be valid
         there must be a clear expression in words or actions that the other individual
         consented to that specific sexual conduct.

  Filing No. 135 at 3. The recommended sanction was dismissal and Patterson explained that she

  was upholding the panel’s recommendation. She informed Ayala that he was immediately

  dismissed from Butler, and he had the right to appeal the decision within three days (Filing No.

  137-1 at 53–54).

         On May 21, 2015, Ayala’s attorney submitted a written appeal to Patterson. His counsel’s

  letter explained the bases for the appeal: (1) Patterson failed to inform Ayala in writing of the

  rationale for the outcome; (2) one of the panel members, Sally Click (“Click”), demanded proof

  that there had been an express statement of consent through her questioning, which showed she

  blatantly misunderstood consent; (3) Click’s questioning showed a personal bias about consent,

  which may have influenced the other panel members; and (4) there was new evidence that no

  criminal charges were going to be pursued against Ayala by the Marion County Prosecutor’s

  Office, which could have changed the panel’s decision. Id. at 55–59.

         On June 4, 2015, Patterson sent Ayala a letter denying his appeal and explaining the reasons

  for the denial (Filing No. 137-1 at 60–63). Butler’s policy did not require the Title IX coordinator

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  to provide a rationale for the panel’s decision in the notification to the student; instead, the policy

  stated that the “Title IX Coordinator will inform the accused individual and the complainant of the

  final determination within seven (7) business days of the hearing” and that notification will be

  made in writing (Filing No. 13-1 at 19). Even though university policy did not require it, Patterson

  included a copy of the panel’s deliberation report with her letter denying the appeal so that Ayala

  could review the panel’s rationale (Filing No. 137-1 at 60–63). Patterson explained that not

  including the rationale in the notice letter did not create a procedural error that significantly

  impacted the outcome of the hearing. Id. at 60.

         Concerning Ayala’s second and third grounds for appeal, Patterson explained that Click’s

  questions regarding consent were not inappropriate because the grievance panel was hearing a case

  involving charges of non-consensual sexual contact and non-consensual sexual intercourse.

  Patterson explained that the policy defined consent as requiring a clear expression of words or

  actions, and thus, questions regarding the words and actions of both parties about consent were

  appropriate and not a procedural error. Id.

         Concerning Ayala’s fourth ground for appeal, Patterson explained a review of evidence in

  a criminal matter is not analogous to a review of information in a university grievance case.

  Patterson explained that this “new evidence” that criminal charges were not going to be filed

  against Ayala would not have substantially impacted the panel’s findings or recommended

  sanction. Patterson concluded that the panel’s findings and sanction “stand,” and the decision to

  expel Ayala remained. Id. at 60–61.

         Following his expulsion from Butler, Ayala applied for admission to several universities.

  When Ayala applied to these other universities, his Butler transcript was provided to them. Ayala’s

  transcript reflected his dismissal from Butler. When Ayala submitted his applications, he provided



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  an explanation for his expulsion. Ayala also asked Butler officials to send letters to some of the

  universities that had requested additional information. He was rejected by ten universities because

  of his disciplinary action at Butler. Ayala was eventually admitted to St. Louis University in

  January 2016 (Filing No. 137-1 at 25, 27–29; Filing No. 137-4 at 37–46).

         On May 23, 2016, Ayala initiated this lawsuit against Jane Smith, Butler, and the Butler

  employees who participated in his expulsion. He asserted claims for breach of contract, violation

  of Title IX, violation of 42 U.S.C. § 1981, defamation, negligent infliction of emotional distress,

  and other state law claims (Filing No. 13). Through a stipulation of dismissal, Ayala’s claims

  against Jane Smith and Jane Smith’s counterclaims against Ayala were mutually dismissed (Filing

  No. 107). Following a partial motion to dismiss filed by the Defendants, the Court dismissed the

  Title IX claim against the individual Defendants because there is no personal liability under Title

  IX (Filing No. 122). On May 1, 2018, the Defendants filed the instant Motion for Summary

  Judgment asserting the remaining claims are not viable (Filing No. 134).

                         II.    SUMMARY JUDGMENT STANDARD

         The purpose of summary judgment is to “pierce the pleadings and to assess the proof in

  order to see whether there is a genuine need for trial.” Matsushita Elec. Indus. Co. v. Zenith Radio

  Corp., 475 U.S. 574, 587 (1986). Federal Rule of Civil Procedure 56 provides that summary

  judgment is appropriate if “the pleadings, depositions, answers to interrogatories, and admissions

  on file, together with the affidavits, if any, show that there is no genuine issue as to any material

  fact and that the moving party is entitled to a judgment as a matter of law.” Hemsworth v.

  Quotesmith.com, Inc., 476 F.3d 487, 489–90 (7th Cir. 2007). In ruling on a motion for summary

  judgment, the court reviews “the record in the light most favorable to the non-moving party and

  draw[s] all reasonable inferences in that party’s favor.” Zerante v. DeLuca, 555 F.3d 582, 584



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   (7th Cir. 2009) (citation omitted). “However, inferences that are supported by only speculation or

   conjecture will not defeat a summary judgment motion.” Dorsey v. Morgan Stanley, 507 F.3d

   624, 627 (7th Cir. 2007) (citation and quotation marks omitted). Additionally, “[a] party who

   bears the burden of proof on a particular issue may not rest on its pleadings, but must affirmatively

   demonstrate, by specific factual allegations, that there is a genuine issue of material fact that

   requires trial.” Hemsworth, 476 F.3d at 490 (citation omitted). “The opposing party cannot meet

   this burden with conclusory statements or speculation but only with appropriate citations to

   relevant admissible evidence.” Sink v. Knox County Hosp., 900 F. Supp. 1065, 1072 (S.D. Ind.

   1995) (citations omitted).

          “In much the same way that a court is not required to scour the record in search of evidence

   to defeat a motion for summary judgment, nor is it permitted to conduct a paper trial on the merits

   of [the] claim.” Ritchie v. Glidden Co., 242 F.3d 713, 723 (7th Cir. 2001) (citations and quotation

   marks omitted). “[N]either the mere existence of some alleged factual dispute between the parties

   nor the existence of some metaphysical doubt as to the material facts is sufficient to defeat a motion

   for summary judgment.” Chiaramonte v. Fashion Bed Grp., Inc., 129 F.3d 391, 395 (7th Cir.

   1997) (citations and quotation marks omitted).

                                        III.   DISCUSSION

          The Defendants ask the Court to dismiss each of the claims brought against them because

   there are no factual disputes and the law is in their favor as to each claim. In his Response Brief,

   Ayala concedes,

          [U]pon a complete review of BUTLER’S motion, supporting brief, and exhibits
          filed in support of summary judgment, in his duty of candor to the Court, [Ayala]
          recognizes that several of the pending claims are indeed subject to summary
          judgment, namely, Count I (Breach of Contract), Count II (Breach of Covenant of
          Good Faith and Fair Dealing, Count III (Tortious Interference with Contract),
          Count V (Violation of 42 U.S.C. ¶1981), Count VI (Defamation), Count VII

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           Intentional Infliction of Emotional Distress), Count VIII (Negligent Infliction of
           Emotional Distress), and Count IX (Preliminary and Permanent Injunctions).
           Accordingly, Plaintiff will not present argument in opposition to summary
           judgment on these counts.

   (Filing No. 157 at 1–2.) With no factual disputes and with the law in favor of the Defendants on

   these claims, and in light of Ayala’s concession and lack of opposition, the Court grants summary

   judgment to the Defendants on each of these claims. 2

           Ayala challenges summary judgment on the Title IX claim against Butler, arguing that

   there are two genuine issues of material fact in dispute. Ayala first argues that Click demonstrated

   a bias against him and in favor of Jane and the female witnesses through her questions about verbal

   consent, and through her questioning, Click implied that he was a “‘predatory’ male student who

   posed a threat to Defendants’ female students.” (Filing No. 157 at 3.) Ayala asserts,

           Click’s questioning, although not composed of improper questions, was persistent
           in its hyperfocus on consent through words, despite undisputed (and
           overwhelming) testimony from both [Ayala] and [Jane], as well as other students
           who saw the two of them together for an extended period of time the night of the
           incident, indicating that the acts of sexual conduct were consensual.

   Id. at 7.

           Second, Ayala contends that “the entire investigation focused on [Jane] as ‘victim’ and

   [Ayala] as an ‘assailant’, with no indication of any consideration that the actions of [Jane] herself

   might also have violated the school’s policy on the issue of obtaining consent before engaging in

   sexual conduct.” Id. He argues that Click’s pointed and persistent questions about obtaining

   verbal consent shows a gender bias on the part of Butler and the members of the grievance panel.




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     The Court pauses to recognize the professionalism and candor of Ayala’s counsel. While some attorneys may be
   prone to “dig in their heels” and oppose an inevitable adverse result, counsel in this case respectably acknowledged
   the lack of viability of some of his claims. The Court appreciates counsel’s candor and the preservation of judicial
   resources as well as the preservation of both parties’ resources.

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          In support of his bias argument, Ayala offers that Butler addressed a similar grievance

   complaint during the 2014–15 academic school year. In that case, the complainant was female

   and respondent, a male, were Butler students, and the respondent was accused and found guilty of

   non-consensual sexual activity. However, Butler did not expel the male student; rather, Butler

   withheld his diploma for one year because both students were about to graduate when the incident

   occurred (Filing No. 137-2 at 12–13). Ayala asserts that the different outcome in the earlier case

   shows a bias against him.

          Title IX provides that no person “shall, on the basis of sex, be excluded from participation

   in, be denied the benefits of, or be subjected to discrimination under any education program or

   activity receiving Federal financial assistance . . . .” 20 U.S.C. § 1681(a). To support a viable Title

   IX claim, a plaintiff must show that the educational institution discriminated against the plaintiff

   because of gender. Ludlow v. Northwestern Univ., 79 F. Supp. 3d 824, 835 (N.D. Ill. 2015).

          One category of Title IX claims attacking a university’s disciplinary proceeding is the

   “erroneous outcome” claim, where “the plaintiff was innocent and wrongly found to have

   committed an offense.” Yusuf v. Vassar College, 35 F.3d 709, 715 (2d Cir. 1994). “A plaintiff

   alleging an ‘erroneous outcome’ claim under Title IX must first ‘allege particular facts sufficient

   to cast some articulable doubt on the accuracy of the outcome of the proceedings’ and then also

   ‘allege particular circumstances suggesting that gender bias was a motivating factor behind the

   erroneous finding.’” Doe v. Purdue Univ., 281 F. Supp. 3d 754, 774 (N.D. Ind. 2017) (quoting

   Yusuf, 35 F.3d at 715).

          The Defendants argue that there is no evidence that would cast doubt on the accuracy of

   Butler’s grievance proceedings or that would establish gender bias was a motivating factor behind

   any alleged erroneous finding. They assert that the designated evidence shows Butler followed all



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   of its grievance policies throughout the investigation, at the hearing, and after the hearing. Both

   Jane and Ayala were interviewed twice. Both were permitted to identify witnesses. Both were

   present at the hearing, and both were questioned and allowed to submit questions. Both were

   permitted to give closing statements. After the hearing, Ayala was timely notified of the decision

   and his right to appeal, which he exercised. The appeal was fully considered and denied. The

   Defendants assert there are no allegations or evidence that Butler failed to follow its policies, but

   rather, Ayala simply dislikes and disagrees with the panel’s findings and conclusions.

          The Defendants also argue there is no evidence that any gender bias influenced the panel’s

   decision. Click’s questions about verbal consent in a case about non-consensual sexual conduct

   do not implicate gender. If anything, the Defendants assert, Click’s questions tenuously might

   show bias in favor of alleged victims of sexual assault, but even that does not establish gender

   discrimination. See Doe v. Miami Univ., 247 F. Supp. 3d 875, 888 (S.D. Ohio 2017) (“However,

   as this Court has observed, ‘demonstrating that a university official is biased in favor of the alleged

   victims of sexual assault claims, and against the alleged perpetrators, is not the equivalent of

   demonstrating bias against male students.’”); Doe v. Columbia Coll. Chi., 299 F. Supp. 3d 939,

   955 (N.D. Ill. 2017) (plaintiff’s allegations that a grievance panel questioned him more

   “aggressively” than the alleged victim “at best” showed “a bias in favor of sexual assault

   complainants and against those accused of sexual assault, regardless of gender”).

          The Defendants assert that Ayala’s contention that Click’s questions showed gender bias

   is pure speculation and speculation cannot defeat summary judgment. See Houlihan v. City of

   Chicago, 871 F.3d 540, 554 (7th Cir. 2017) (“[S]peculation cannot defeat summary judgment.”);

   Rand v. CF Indus., Inc., 42 F.3d 1139, 1146 (7th Cir. 1994) (“Inferences and opinions must be

   grounded on more than flights of fancy, speculations, hunches, intuitions, or rumors, and



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   ‘[d]iscrimination law would be unmanageable if disgruntled employees . . . could defeat summary

   judgment by affidavits speculating about the defendant’s motives.’”)

          Upon review of the designated evidence and the parties’ arguments concerning the Title

   IX claim, the Court concludes that there is no evidence to show that gender bias was a motivating

   factor behind the proceedings, the findings, or the sanction, let alone behind any erroneous

   findings. Ayala’s comparison between his case and the male student’s case in 2014 where the

   student’s diploma was withheld rather than expulsion, is not helpful to his claim. The fact that

   Butler may have treated another male student more favorably than Ayala does not show bias as

   the students are the same gender. Moreover, the circumstances are different in that the other male

   student had already completed his degree at the time of the alleged sexual assault.

          Concerning Click’s questions during the grievance hearing, Ayala acknowledged in his

   deposition that Click’s questions were reasonable in this case of non-consensual sexual activity,

   and he acknowledged in his Response Brief that the questions were not improper (Filing No. 137-

   1 at 19; Filing No. 157 at 7). Click’s two questions about whether Ayala obtained verbal consent

   from Jane to engage in sexual activity did not directly show any gender bias nor did they imply

   any gender bias. Finally, the panel’s deliberation report reflects that the panel understood that

   consent could be obtained either verbally or by action, as evidenced by the finding that Ayala “did

   not indicate any specific actions that he took to get consent either by word or action.” (Filing No.

   137-4 at 34.) Because the evidence does not show any gender bias by Butler; Ayala’s Title IX

   claim necessarily fails. Therefore, summary judgment is appropriate on this claim.

                                      IV.     CONCLUSION

          For the foregoing reasons, the Court GRANTS the Defendants’ Motion for Summary

   Judgment (Filing No. 134). Each of the claims asserted by Ayala against the Defendants is



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   dismissed. With all claims, counterclaims, and crossclaims having been resolved in this litigation,

   this case is terminated.

          The Court will issue final judgment under separate order.

          SO ORDERED.


   Date: 10/19/2018




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